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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
K. ERIC MARTIN, et al.,             )
            Plaintiffs,             )
                                    )
      v.                            )                Civil Action No. 1:16-cv-11362-PBS
                                    )
WILLIAM GROSS et al.,               )
            Defendants.             )
____________________________________)

        DISTRICT ATTORNEY RACHAEL ROLLINS’S NOTICE OF APPEAL

       Pursuant to Federal Rule of Appellate Procedure 3(a)(1), defendant District Attorney

Rachael Rollins hereby provides notice of her appeal to the United States Court of Appeals for

the First Circuit from this Court’s judgment dated May 22, 2019.

                                             Respectfully submitted,

                                             MAURA HEALEY
                                             ATTORNEY GENERAL

                                                /s/ Eric A. Haskell
                                             ___________________________
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                                CERTIFICATE OF SERVICE

       I certify that a copy of this document will be sent electronically by the ECF system to
attorneys of record identified on the Notice of Electronic Filing.

                                                        /s/ Eric A. Haskell
                                                     _______________________
   June 21, 2019                                             Eric A. Haskell
                                                       Assistant Attorney General
